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Attomeys for TransCorp

UNlTE-D STATES DISTRICT COUl_lT
DISTRICT OF IDAHO

'I'RANSCORP, INC., an Idaho corporation
. ` Casq No.: CV-07-453-S-BLW
Plaintiff,
STIPULATION mR_EXP*ITED
BRIEI|WG SCHEDULE

VB.
NoR:rHLAND msURANcE CoMPANY,
Defmdant.

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COMB NOW the above-named parties, by and through their counsel of reoord, and
hereby'stipulato' to expedite the briefing schedule with respect to Defendatltfs Motlon to Strike
Porc_i`m of the Afadavic of christopher ornhm in support of Plaimio:’s. Mmormmn in
Opposition to Defendant’s Motion for Summary Judgoimt..

'rve above-med parties hereby agree amc maintin Response w oefmdam's M<_>uon to
suike win be am on or before August 18, 2008, and that Deféndm’s neply win be dué bn or
' befo'm Augus¢ 20, 2008. l

S'I'[FULATION FOR EXPEDITED BRIEFING SCHBDULB - l

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Attomeys for 'ntiif

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DATED T.his f § day of August 2008.

EBBRLB, BERLIN, KADING, TuRNBow &
McKLvBBN

Neil D. McFeeley _ j
- Attomeys for Defmdant

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